
ON APPLICATION FOR ADMISSION TO THE BAR
PER CURIAM.
hThe Committee on Bar Admissions (“Committee”) opposed the application of petitioner, James A. Graham, to sit for the Louisiana Bar Examination based on character and fitness concerns relating to his prior criminal history and an incident of academic misconduct which occurred while he was in law school. We subsequently granted petitioner permission to sit for the bar exam, with the provision that upon his successful completion of the exam, he apply to the court for the appointment of a commissioner to take character and fitness evidence. In re: Graham, 09-1356 (La.6/24/09), 11 So.3d 492.
Petitioner thereafter successfully passed the essay portion of the bar exam, and upon his application, we remanded this matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. During these proceedings, petitioner acknowledged that he did not truthfully disclose his criminal history when he applied to law school.
Following a hearing, the commissioner filed his report with this court, recommending petitioner be admitted to the practice of law. Neither party objected to this recommendation; however, on its own motion, this court ordered the matter docketed for oral argument.
| ¡After hearing oral argument, reviewing the evidence, and considering the law, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions:
I. The term of this conditional admission shall be for two years from the date of admission.
II. Within thirty days of petitioner’s admission, he shall enter into a formal plan with the Office of Disciplinary Counsel (“ODC”) incorporating the following conditions:
A. During the period of this conditional admission, petitioner shall attend and successfully complete the Louisiana State Bar Association’s Ethics School program.
B. Petitioner shall request that the ODC appoint a practice monitor to supervise his professional activities during the period of this conditional admission. Petitioner shall comply with all reasonable requests of his practice monitor.
C. Petitioner shall cooperate with the ODC, and shall comply with any and all requirements imposed upon him by the ODC.
III. Within thirty days prior to the expiration of the conditional admission, the ODC shall file a report in this court in which it shall recommend to the court that the conditional admission be allowed to terminate or be extended.
Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he *300may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
CLARK, J., dissents.
